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Case 3: 02- --Cr 03048- W Document 25 Filed 03/13/03 Pa e|D. 103 Pa e 2 of 2
Minutes of the United States District Cougt g

Southern District of California
Thursday, March 13, 2003 v

2002CR03048-W

 

For the Honorable: Thomas J. Whelan District Judge
Deputy Clerk: Corey Tremble Court Reporter/ECR: Melissa Pierson

 

On Calendar:
2002CR03048-W
USA vs. mg Bgoking §

(2) Frank Torres Morell RET
619 498-0667

Michael P. Skerlos AUSA
619 557-5610

(E)PATRICIA SERRANO-VALDEZ (C)
MTD: 04-02-2003

DISPOSITION HRG (2)

Minutes:
DISPOSITION HEARING

THE DEFENDANT ENTERS A GUILTY PLEA TO COUNT FIVE OF TI-IE INDICTMENT.

PLEA AGREEMENT FILED.
PRESENTENCE REPORT ORDERED.
PO REPORT AND SENT HRG SET FOR 6/171'03 AT 9AM.

Printed: 031'13/2003 9:29 am ;z§ ) \' Page 1 of l

